       Case 4:14-cr-00152-KGB          Document 117        Filed 03/02/15     Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                   NO. 4:14CR00152 JLH

UZIEL LOZANO,
ROBERT KEITH MIZE,
BILLY TAD EARNEST,
AMBER DAWN EARNEST,
ANDREA NICOLE OAKLEY,
TYSON G. NORSWORTHY,
and BOBBY JO WADE                                                                 DEFENDANTS

                                            ORDER

       Pending before the Court is the motion for continuance of the March 23, 2015 trial of this

matter filed by defendant Billy Tad Earnest. Document #115. The Court has determined that due

to the number of defendants and attorneys involved in this case the most efficient manner of which

to handle the motion for continuance will be to establish a deadline for any defendant opposing the

motion to file a response in opposition.

       IT IS THEREFORE ORDERED that any defendant opposing the motion for continuance

must file a response in opposition on or before MARCH 16, 2015. It will not be necessary for any

defendant who supports the motion for continuance to respond.

       The Court will assume that any defendant who does not file a response in opposition of the

motion on or before March 16, 2015, joins in the motion for continuance and waives Speedy Trial

requirements up to and including the next scheduled trial date.

       IT IS SO ORDERED this 2nd day of March, 2015.


                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
